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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:18-CR-0171-MCE
12                                Plaintiff,            STIPULATION REGARDING EXCLUDABLE
                                                        TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                          ORDER
14   FIDEL SANCHEZ-CRUZ, and                            DATE: June 4, 2020
     AGUSTIN CRUZ-SANCHEZ                               TIME: 10:00 a.m.
15                                                      COURT: Hon. Morrison C. England, Jr.
                                 Defendants.
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18          On March 23, 2020, the Court continued the status conference scheduled for April 23, 2020, to

19 May 7, 2020, in keeping with General Orders 611 and 612. See ECF No. 91. On April 22, 2020, the
20 Court continued the May 7, 2020, status conference to June 4, 2020, based General Orders 611 and 617.

21 See ECF No. 96. These minute orders excluded time under the Speedy Trial Act based on findings that

22 doing so was necessary in the interest of public health and safety. As permitted by these minute orders,

23 the parties submit this stipulation to provide additional bases supporting the exclusion of time from

24 April 23, 2020 through June 4, 2020.

25          This Court issued General Order 611 on March 17, 2020, suspending all jury trials in the Eastern

26 District of California scheduled to commence before May 1, 2020. This Court issued General Order 612

27 on March 18, 2020, allowing district judges to continue all criminal matters to a date after May 1, 2020,

28 excluding time under the Speedy Trial Act with reference to General Order 611, with additional findings

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 1 to support the exclusion in the Judge’s discretion. On April 17, 2020, this Court issued General Order

 2 617, which suspends all jury trials in the Eastern District of California scheduled to commence before

 3 June 15, 2020, and allows district judges to continue all criminal matters to a date after June 1. These

 4 General Orders were entered to address public health concerns related to COVID-19.

 5           Although the General Orders address the district-wide health concern, the Supreme Court has

 6 emphasized that the Speedy Trial Act’s end-of-justice provision “counteract[s] substantive

 7 openendedness with procedural strictness,” “demand[ing] on-the-record findings” in a particular case.

 8 Zedner v. United States, 547 U.S. 489, 509 (2006). “[W]ithout on-the-record findings, there can be no

 9 exclusion under” § 3161(h)(7)(A). Id. at 507. Moreover, any such failure cannot be harmless. Id. at

10 509; see also United States v. Ramirez-Cortez, 213 F.3d 1149, 1153 (9th Cir. 2000) (explaining that a

11 judge ordering an ends-of-justice continuance must set forth explicit findings on the record “either orally

12 or in writing”).

13           Based on the plain text of the Speedy Trial Act—which Zedner emphasizes as both mandatory

14 and inexcusable—General Orders 611, 612, and 617 require specific supplementation. Ends-of-justice

15 continuances are excludable only if “the judge granted such continuance on the basis of his findings that

16 the ends of justice served by taking such action outweigh the best interest of the public and the

17 defendant in a speedy trial.” 18 U.S.C. § 3161(h)(7)(A). Moreover, no such period is excludable unless

18 “the court sets forth, in the record of the case, either orally or in writing, its reason or finding that the

19 ends of justice served by the granting of such continuance outweigh the best interests of the public and
20 the defendant in a speedy trial.” Id.

21           The General Orders exclude delay in the “ends of justice.” 18 U.S.C. § 3161(h)(7) (Local Code

22 T4). Although the Speedy Trial Act does not directly address continuances stemming from pandemics,

23 natural disasters, or other emergencies, this Court has discretion to order a continuance in such

24 circumstances. For example, the Ninth Circuit affirmed a two-week ends-of-justice continuance

25 following Mt. St. Helens’ eruption. Furlow v. United States, 644 F.2d 764 (9th Cir. 1981). The court

26 recognized that the eruption made it impossible for the trial to proceed. Id. at 767-68; see also United

27 States v. Correa, 182 F. Supp. 326, 329 (S.D.N.Y. 2001) (citing Furlow to exclude time following the

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 1 September 11, 2001 terrorist attacks and the resultant public emergency). The coronavirus is posing a

 2 similar, albeit more enduring, barrier to the prompt proceedings mandated by the statutory rules.

 3          In light of the societal context created by the foregoing, this Court should consider the following

 4 case-specific facts in finding excludable delay appropriate in this particular case under the ends-of-

 5 justice exception, § 3161(h)(7) (Local Code T4). 1

 6                                                STIPULATION

 7          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

 8 through defendant’s counsel of record, hereby stipulate as follows:

 9          1.      By previous order, this matter was set for status on April 23, 2020.

10          2.      In a minute order issued March 23, 2020, the Court continued the April 23, 2020, status

11 conference to May 7, 2020, “in the interest of public health and safety,” and excluded time by reference

12 to General Order 611. ECF No. 91.

13          3.      In a minute order issued April 22, 2020, the Court continued the May 7, 2020, status

14 conference to June 4, 2020, “in the interest of public health and safety.” ECF No. 96. The Court also

15 excluded time by reference to General Orders 611 and 617 and based on specific findings in the minute

16 order that failure to exclude time would result in a miscarriage of justice in light of the public health

17 concerns posed by COVID-19. Id. The minute order also permitted the parties to “file a stipulation

18 regarding the exclusion of time as well.” Id.

19          4.      By this stipulation, the parties move to exclude time between April 23, 2020, and June 4,

20 2020, under Local Code T4.

21          5.      The parties agree and stipulate, and request that the Court find the following:

22                  a)      The government has represented that the discovery associated with this case

23          includes more than 13,000 pages of investigative reports, photographs, and other documents, as

24          well as video and audio recordings. All of this discovery has been either produced directly to

25          counsel and/or made available for inspection and copying. In addition, the government has

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            The parties note that General Order 612 acknowledges that a district judge may make
28 “additional findings to support the exclusion” at the judge’s discretion. General Order 612, ¶ 5 (E.D.
   Cal. March 18, 2020).
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 1        produced to defendant Cruz-Sanchez the contents of his seized cell phone, consisting of

 2        hundreds of photographs, videos, and other files.

 3               b)      Counsel for defendants desire additional time to review the discovery and discuss

 4        it with their clients, to conduct investigation, to evaluate a potential motion to suppress, and to

 5        otherwise prepare for trial.

 6               c)      Counsel for defendants believe that failure to grant the above-requested

 7        continuance would deny them the reasonable time necessary for effective preparation, taking into

 8        account the exercise of due diligence.

 9               d)      The government does not object to the continuance.

10               e)      In addition to the public health concerns cited by General Order 617, and

11        presented by the evolving COVID-19 pandemic, an ends-of-justice delay is particularly apt in

12        this case because counsel for defendants are in high-risk categories or COVID-19, as recognized

13        by the Centers for Disease Control.

14               f)      Based on the above-stated findings, the ends of justice served by continuing the

15        case as requested outweigh the interest of the public and the defendant in a trial within the

16        original date prescribed by the Speedy Trial Act.

17               g)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

18        et seq., within which trial must commence, the time period of April 23, 2020 to June 4, 2020,

19        inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

20        because it results from a continuance granted by the Court at defendant’s request on the basis of

21        the Court’s finding that the ends of justice served by taking such action outweigh the best interest

22        of the public and the defendant in a speedy trial.

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 1          6.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 3 must commence.

 4          IT IS SO STIPULATED.

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 6
     Dated: April 23, 2020                                    MCGREGOR W. SCOTT
 7                                                            United States Attorney
 8
                                                              /s/ DAVID W. SPENCER
 9                                                            DAVID W. SPENCER
                                                              Assistant United States Attorney
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11
     Dated: April 23, 2020                                    /s/ DINA SANTOS
12                                                            DINA SANTOS
                                                              Counsel for Defendant
13                                                            FIDEL SANCHEZ-CRUZ
14   Dated: April 23, 2020                                    /s/ HAYES H. GABLE, III
                                                              HAYES H. GABLE, III
15                                                            Counsel for Defendant
                                                              AGUSTIN CRUZ-SANCHEZ
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18                                                    ORDER
19          IT IS SO ORDERED.
20 Dated: April 24, 2020

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